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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

 ––––––––––––––––––––––––––––––––––––––––––
                                         X
                                         : Civil Action No. 6:16-cv-2201-PGB-KRS
 Symbology Innovations LLC               :
                                         : Lead Case No.: 6:16-cv-2197-PGB-KRS
                           Plaintiff,    :
 vs.                                     :
                                         :
 Hyatt Corporation                       :
                                         :
                           Defendant.    :
 –––––––––––––––––––––––––––––––––––––––––
                                         X


                                STIPULATION OF DISMISSAL
        Pursuant to Federal Rule of Civil Procedure 41(a), Symbology Innovations, LLC (“SI”)

 and Hyatt Corporation (“Hyatt”) hereby stipulate and agree that all claims by SI against Hyatt are

 dismissed with prejudice, with each party to bear its own attorneys’ fees, expenses and costs.




  Dated: May 31, 2017                             Respectfully Submitted,

  /s/ Sonia Colon                                    /s/ Stephen J. Leahu
  Sonia Colon                                        Stephen J. Leahu
  USDC No. 0050475                                   Florida Bar No. 54037
  FERRAIUOLI LLC                                     Board Certified in Intellectual Property Law
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  Counsel for Plaintiff                              Counsel for Defendant
  Symbology Innovations, LLC                         Hyatt Corporation




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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 31th day of May, 2017, I electronically filed the

 foregoing with the Clerk of the Court using the CM/ECF system, which will send a Notice of

 Electronic Filing to all counsel of record.


                                               /s/ Sonia Colon
                                               Sonia Colon




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